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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11 In the Disciplinary Matter of           )       ORDER OF
                                           )       DISBARMENT/SUSPENSION
12                                         )
   ATTORNEY DISCIPLINARY                   )
13 ACTIONS                                 )
                                           )
14                                         )
15
16        On April 14, 2011, the Court issued a number of Orders to Show Cause why
17 certain attorneys should not be disbarred or suspended from the Bar of this Court
18 as a result of suspension or disbarment from the Supreme Court of California or of
19 any United States Court, resignation with charges pending accepted by the
20 Supreme Court of California, or enrollment as an involuntary inactive member of
21 the State Bar of California with cases pending in this Court. Written responses to
22 each Order to Show Cause were due thirty (30) days from the date of the Order to
23 Show Cause. The Court has not received a response to its April 14, 2011 Orders
24 to Show Cause from any attorney listed in Attachment “A” to this Order, unless
25 otherwise noted therein. IT IS THEREFORE ORDERED that the attorneys listed
26 in Attachment “A” to this Order are suspended or disbarred from the practice of
27 law in this Court pursuant to Rule 83-3.2 of the Local Rules for the Central
28 District of California.

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 1              IT IS FURTHER ORDERED that any attorney listed in Attachment
 2 “A” to this Order who has been suspended or disbarred from the Bar of this Court
 3 will be reinstated upon proof of his or her reinstatement as an active member in
 4 good standing with the State Bar of California.
 5              An attorney registered to use the Court’s Electronic Case Filing
 6 System (ECF) who is suspended or disbarred by this Court will not have access to
 7 file documents electronically until the attorney has been reinstated by the State Bar
 8 of California and reinstated to the Bar of this Court.
 9              This Order is being served pursuant to Federal Rule of Civil
10 Procedure 5 to the current addresses of the attorneys listed in Attachment “A” as
11 on file with the State Bar of California as of April 14, 2011.
12
13              DATE:      June 3, 2011
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17                                                      Audrey B. Collins
                                                 Chief United States District Judge
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 1                                   Attachment A
 2
 3 Disbarment
 4 1. Bruce Lewis Briggs, #196750, MC-11-144 ABC
 5 2. Ronald Marc Cohen, #114421, MC-11-145 ABC
 6 3. Stephen Paul Collette, #186439, MC-11-146 ABC
 7 4. Robert C. Fishman, #110630, MC-11-147 ABC
 8 5. Aftab Alam Malik, #171926, MC-11-148 ABC
 9 *6. James Joseph Brown III, #169686, MC-11-149 ABC
10        Betancourt v. Homecoming, CV-11-112 PSG (JEMx)
11
12 Suspension
13 *1. Clifford Alexander Dover, #169838, MC-11-150 ABC
14        Rueda v. Cofrancesco, CV-10-4011 ODW (AGR)
15 2. John A. Hurley, #145907, MC-11-151 ABC
16 3. Bruce Gordon Jones, #43448, MC-11-152 ABC
17 4. Steven Lance Mazza, #101076, MC-11-153 ABC
18 5. Brian D. McMahon, #147662, MC-11-154 ABC
19 6. Brett Alexander Pedersen, #146341, MC-11-155 ABC
20 7. Fred Jay Grossblatt, #82234, MC-11-157 ABC
21 8. Edward Leonid Katsnelson, #179677, MC-11-159 ABC
22 9. Sabbir Ahmed, #177794, MC-11-158 ABC
23 10. John Joseph O’Kane III, #97772, MC-11-160 ABC
24 11. Jacqueline Staten, #175733, MC-11-161 ABC
25
26 *Has active cases pending in this court as of March 30, 2011.
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